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                      Andrew Lee Baslow
                    9
                 10                                      UNITED STATES DISTRICT COURT
                 11                                     CENTRAL DISTRICT OF CALIFORNIA
                 12                                               SOUTHERN DIVISION
                 13 NATURAL-IMMUNOGENICS CORP.,                                )   Case No. 8:15-cv-02034-JVS-JCG
                    a Florida Corporation,                                     )
                 14                                                            )   Judge: Hon. James V. Selna
                                Plaintiff,                                     )
                 15                                                            )   DEFENDANT DAVID REID’S
                           vs.                                                 )   REPLY IN SUPPORT OF
                 16                                                            )   MOTION IN LIMINE TO
                    NEWPORT TRIAL GROUP, et al.,                               )   EXCLUDE REFERENCE TO OR
                 17                                                            )   THE INTRODUCTION OF
                                Defendants.                                    )   EVIDENCE OF THIS COURT’S
                 18                                                            )   REPRIMAND OF DAVID REID
                 19                                                                Complaint Filed: December 7, 2015
                                                                                   Trial Date:      November 1, 2021
                 20
                 21                 Defendant, David Reid, through his counsel of record, hereby submits his
                 22 Reply in Support of his Motion in Limine to exclude any reference or mention of any
                 23 evidence related to this Court’s formal reprimand of Mr. Reid at Docket No. 130.
                 24 / / /
                 25 / / /
                 26 / / /
                 27 / / /
                 28 / / /
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                    1               This Reply is based upon the papers and pleadings on file, the attached
                    2 Memorandum of Points and Authorities and any oral arguments this Court may wish
                    3 to entertain.
                    4 Dated: September 22, 2021                            BREMER WHYTE BROWN & O’MEARA
                                                                           LLP
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                    9                                                            Ryan Ferrell; Victoria Knowles;
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                    1                           MEMORANDUM OF POINTS AND AUTHORTIES
                    2 1.            ARGUMENT
                    3               This Court’s reprimand of Defendant David Reid (“Reprimand”) is
                    4 impermissible character evidence and irrelevant to the actual claims being litigated in
                    5 the instant action. Even if the Court determines that the Reprimand has probative
                    6 value, it must be excluded because the highly prejudicial nature of the Reprimand
                    7 substantially outweighs any probative value it offers in this case. Moreover, Mr.
                    8 Reid’s statement had been corrected in a revised declaration. Dkt 134 at p. 2 ¶ 2.
                    9               1.1.      The Reprimand of Mr. Reid is Not Relevant to the Claims
                 10                           Remaining Against Him in this Case
                 11                 Rule 401 provides that evidence is relevant only if it “has a tendency to make
                 12 a fact more or less probable than it would be without the evidence” and second, “the
                 13 fact is of consequence in determining the action.” Fed. R. Evid. 401.
                 14                 NIC dismissed its malicious prosecution claim against Mr. Reid with
                 15 prejudice. Dkt. 1124. Mr. Reid was dismissed because NIC could not make a case
                 16 that he had sufficient involvement in the underlying Nilon Action to pursue the
                 17 malicious prosecution claim against him in good faith. Thus, in order for the
                 18 Reprimand to be relevant, it must be relevant to the RICO claims.
                 19                  NIC’s position that Mr. Reid’s Reprimand is relevant to this case is illogical.
                 20 The Reprimand is solely related to Mr. Reid’s involvement in the Nilon Action, the
                 21 only case involved in the Malicious Prosecution claim. NIC asserts that Mr. Reid’s
                 22 testimony “tends to show that Reid had knowledge of events in the Nilon lawsuit”,
                 23 yet NIC dismissed Mr. Reid from the Malicious Prosecution action, with prejudice.
                 24 NIC cannot argue in good faith that the Reprimand is relevant because of the Nilon
                 25 Action when it dismissed its Malicious Prosecution case against Mr. Reid precisely
                 26 because there was insufficient evidence of his involvement with the Nilon Action.
                 27 / / /
                 28 / / /
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                    1                The Reprimand does not make any fact of consequence more probable in the
                    2 RICO causes of action against him. The Reprimand of Mr. Reid does not tend to
                    3 make it more likely he engaged in a racketeering operation. An allegedly reckless
                    4 statement about involvement (or lack thereof) in the underlying Nilon Action does
                    5 not make it more or less probable that he engaged in a pattern of racketeering activity
                    6 under RICO. A statement in a declaration made in the overlying case does not make
                    7 a fact more or less probable in underlying cases. Therefore, it is not a fact of
                    8 consequence and has no relevance to the RICO causes of action against Mr. Reid.
                    9               1.2.      The Prejudice Against Mr. Reid Substantially Outweighs any
                 10                           Probative Value
                 11                 Presenting this Court’s Reprimand of Mr. Reid before a jury is highly
                 12 prejudicial. NIC’s Opposition fails to dispute this argument made in Mr. Reid’s
                 13 moving papers. “[T]he Local Rules permit the Court [to] deem failure to oppose as
                 14 consent to the granting of the motion.” Oakley, Inc. v. Nike, Inc., 988 F. Supp. 2d
                 15 1130, 1138 (C.D. Cal. 2013) (Selna, J.) (granting motion to judgment on the
                 16 pleadings on the plaintiff’s unfair competition and declaratory relief claims for
                 17 failure to oppose). NIC failed to assert any argument against Mr. Reid’s assertion
                 18 that any evidence related to this Court’s Reprimand would be highly prejudicial.
                 19 Therefore, the argument should be deemed waived and the Court should grant the
                 20 Motion.
                 21                 1.3.      Evidence Related to the Reprimand of Mr. Reid Should Not Be
                 22                           Admissible For Any Reason, Including Impeachment
                 23                 “Rule 404(a) provides that “evidence of a person’s character or a trait of
                 24 character is not admissible for the purpose of proving action in conformity therewith
                 25 on a particular occasion...” United States v. Geston, 299 F.3d 1130, 1137-38 (9th
                 26 Cir. 2002). “Because evidence of other crimes, wrongs, or acts carries with it the
                 27 inherent potential to see the defendant simply as a bad person and then to convict
                 28 because of who he is rather than what he did, a trial court must take appropriate care
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                    1 to see that this does not happen.” United States v. Curtin, 489 F.3d 935, 957 (9th Cir.
                    2 2007). NIC seeks to use the Reprimand to prove that Mr. Reid has a propensity to
                    3 act in accordance with a particular character trait. Absent any exception (which NIC
                    4 does not have) evidence related to the Reprimand must be excluded under the Rules
                    5 of Evidence.
                    6               Under Rule 404(b), a court barred evidence related to sanctions against NIC’s
                    7 prior counsel, Carlos Negrete, as evidence to support a malicious prosecution claim
                    8 against him. See Barrett v. Negrete, 2010 U.S. Dist. LEXIS 52258, *15 (S.D. 2010).
                    9 See also, Rengo v. Cobane, 2013 U.S. Dist. LEXIS 91613, *2 (W.D. Wash. 2013)
                 10 (excluding evidence of other lawsuit as “propensity evidence” in malicious
                 11 prosecution action); Williams v. City of Chi., 2015 U.S. Dist. LEXIS 11247, *13
                 12 (N.D. Ill. 2015) (verdict against defendant for malicious prosecution in other
                 13 litigation excluded under Rule 404(b)).
                 14                  NIC argues that the Reprimand is admissible under Rule 608(b). However,
                 15 the very case that NIC cites to support its assertion held that “Impeachment by
                 16 contradiction is properly considered under Rule 607, not Rule 608(b)”. United
                 17 States v. Castillo, 181 F.3d 1129, 1132–33 (9th Cir. 1999) (emphasis added); See M
                 18 organ v. Covington Twp., 648 F.3d 172, 179 (3d Cir. 2011) (affirming that
                 19 impeachment by contradiction is not covered by Rule 608). Rule 608(b) excludes
                 20 extrinsic evidence that goes to a witness’s general credibility, whereas impeachment
                 21 by contradiction “permits courts to admit extrinsic evidence that specific testimony is
                 22 false, because contradicted by other evidence.” United States v. Lopez, 979 F.2d
                 23 1024, 1033-34 (5th Cir. 1992) (noting that Rule 608 does not apply to impeachment
                 24 by contradiction).
                 25                 Instead, “Rule 607 appears to allow the continuation of the federal practice in
                 26 admitting extrinsic evidence to impeach specific errors or falsehoods in a witnesses’
                 27 direct testimony, subject to Rule 403 considerations.” Id. (citing United States v.
                 28 Benedetto, 571 F.2d 1246, 1250 n.7 (2d Cir. 1978). The only way contradictory
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                    1 evidence could be admitted for impeachment purposes here is if Mr. Reid testifies
                    2 during direct examination and NIC had evidence that would contradict his direct
                    3 testimony. “[E]xtrinsic evidence may not be admitted to impeach testimony invited
                    4 by questions posed during cross-examination.” Id. at 1133.
                    5               Any extrinsic evidence to be used for impeachment purposes is limited by
                    6 Rule 403 considerations. See Id.; Fed. R 403. As discussed above, the probative
                    7 value of evidence related to the Court’s Reprimand is substantially outweighed by a
                    8 danger of unfair prejudice, confusing of issues, misleading the jury, and undue delay
                    9 to a trial that will likely have thousands of exhibits and over 50 witnesses. Thus, the
                 10 Reprimand should be excluded for any purpose.
                 11 2. CONCLUSION
                 12                 For the foregoing reasons, any evidence related to this Court’s Reprimand
                 13 should be excluded as such evidence is not admissible for any purpose.
                 14
                 15 Dated: September 22, 2021                              BREMER WHYTE BROWN & O’MEARA
                                                                           LLP
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                    1                                    CERTIFICATE OF SERVICE
                    2
                    3        I am employed in the County of Orange, State of California. I am over the age
                      of 18 and not a party to the within action. My business address is 20320 S.W. Birch
                    4 Street, Second Floor, Newport Beach, California 92660.
                    5               On September 22, 2021, I served the within document(s) described as:
                    6
                    7                    DEFENDANT DAVID REID’S REPLY IN SUPPORT OF
                                         MOTION IN LIMINE TO EXCLUDE REFERENCE TO OR
                    8                    THE INTRODUCTION OF EVIDENCE OF THIS COURT’S
                    9                    REPRIMAND OF DAVID REID

                 10                 on the interested parties in this action as stated on the attached mailing list.
                 11          X      (BY CM/ECF) I hereby certify that I have caused the foregoing to be served
                                    upon counsel of record and all interested parties through the Court’s electronic
                 12                 service system.
                 13              I certify that I am employed in the office of a member of the bar of this Court
                           at whose direction the service was made.
                 14
                                    Executed on September 22, 2021, at Newport Beach, California.
                 15
                                    I declare under penalty of perjury that the foregoing is true and correct.
                 16
                 17                      Laurinda L. Palacio                           /s/ Laurinda L. Palacio
                 18                     (Type or print name)                                 (Signature)
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                    1                      Natural-Immunogenics Corp. v. Newport Trial Group, et al
                    2                                  Case No. 8:15-cv-02034-JVS-JCG
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